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1                                  UNITED STATES DISTRICT COURT
2                                 NORTHERN DISTRICT OF CALIFORNIA
3                                          SAN JOSE DIVISION
4    UNITED STATES OF AMERICA,                     )       No. CR 06-00214 JW
                                                   )
5                    Plaintiff,                    )       STIPULATION AND [PROPOSED]
                                                   )       ORDER CONTINUING CASE AND
6        v.                                        )       EXCLUDING TIME UNDER THE
                                                   )       SPEEDY TRIAL ACT, 18 U.S.C. § 3161
7                                                  )
     MIGUEL ANGEL HERNANDEZ-AVALOS,                )
8       a/k/a Miguel Hernandez,                    )
                                                   )
9                    Defendant.                    )
                                                   )
10                                                 )
11            This matter was set on Monday, October 2, 2006 for setting or disposition. Plaintiff
12   United States of America, by and through Assistant United States Attorney Matthew A.
13   Lamberti, and defendant Miguel Hernandez-Avalos, by and through his counsel Bruce C. Funk,
14   hereby AGREE AND STIPULATE that this matter be continued from October 2, 2006 at
15   1:30 p.m. to October 16, 2006 at 1:30 p.m.
16            The parties also AGREE AND STIPULATE that the period of time from October 2, 2006
17   through and including October 16, 2006, shall be excluded from the period of time within which
18   trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq. because the parties
19   need additional time for effective preparation and investigation, including attempting to resolve
20   this case.
21
22   DATED: 9/29/06                                KEVIN V. RYAN
                                                   United States Attorney
23
                                                                  /s/
24
                                                   MATTHEW A. LAMBERTI
25                                                 Assistant United States Attorney
26                                                               /s/
     DATED: 9/29/06                                _____________________________
27                                                 BRUCE C. FUNK
                                                   Counsel for the Defendant
28
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1                                          [PROPOSED] ORDER
2            Based upon the foregoing, and good cause appearing therefor, the Court finds pursuant to
3    Title 18, United States Code, Sections 3161(h)(1)(F) and 3161(h)(8)(A), considering the factors
4    set forth in Section 3161(h)(8)(B), that the interests of justice in granting this continuance
5    outweigh the defendant’s and the public’s interests in a speedy trial inasmuch as the parties need
6    additional time for effective preparation and investigation, including attempting to resolve this
7    case.
8            IT IS HEREBY ORDERED THAT this matter be continued from October 2, 2006 at
9    1:30 p.m. to October 16, 2006 at 1:30 p.m.
10           IT IS FURTHER ORDERED that the period of time from October 2, 2006 through and
11   including October 16, 2006 be excluded from the period of time within which trial must
12   commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
13           IT IS SO ORDERED.
14
15   DATED:      10/04/06                           ______________________________________
                                                    HON. JAMES WARE
16                                                  United States District Judge

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